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       Attorneys for Plaintiff
  11   ERIC ESCOBAR, an individual
  12                       UNITED STATES DISTRICT COURT
  13
                         CENTRAL DISTRICT OF CALIFORNIA
  14
       ERIC ESCOBAR, individually and on Case No. 8:14-cv-01699
  15
       behalf of himself and others similarly
  16   situated,                              CLASS ACTION COMPLAINT FOR:
  17                                             1. VIOLATION OF THE FAIR
                   Plaintiff,                       CREDIT REPORTING ACT FOR
  18
                                                    FAILURE TO MAKE PROPER
  19         vs.                                    DISCLOSURES [15 U.S.C. § 1681,
                                                    et seq.]
  20
       APRIA HEALTHCARE GROUP,                   2. VIOLATION OF THE FAIR
  21
       INC., a Delaware Corporation;                CREDIT REPORTING ACT FOR
  22   APRIA HEALTHCARE LLC, a                      FAILURE TO OBTAIN PROPER
       Delaware limited liability company,          AUTHORIZATION [15 U.S.C. §
  23   and DOES 1–10, inclusive,                    1681, et seq.].
  24
                                                     [DEMAND FOR A JURY TRIAL]
  25               Defendants.
  26   ///
  27   ///
  28   ///


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   1         Plaintiff ERIC ESCOBAR (“Plaintiff”), individually and on behalf of all
   2   others similarly situated, alleges as follows:
   3                                     INTRODUCTION
   4         1.     Plaintiff brings this class action against Defendants APRIA
   5   HEALTHCARE          LLC,    a     Delaware       limited   liability   company,   APRIA
   6   HEALTHCARE GROUP, INC., a Delaware Corporation, and DOES 1 through
   7   100 (“Defendants”) on behalf of himself and a nationwide class of all individuals
   8   defined as all employees or prospective employees who applied for employment
   9   with Defendants in the United States, who completed Defendants’: job
  10   applications, background check disclosures and authorization forms included a
  11   liability release allowing Defendants to obtain a consumer report, a background
  12   check or DMV search and/or did not have a proper authorization and disclosure
  13   and consent language (the “Class”) at any time during the period beginning five (5)
  14   years prior to the filing of this Complaint and ending on the date as determined by
  15   the Court (the “Class Period”).
  16                              JURISDICTION AND VENUE
  17         2.      This Court has jurisdiction over this action pursuant to 28 U.S.C.
  18   §1331(a) and the Fair Credit Reporting Act, 15 U.S.C. §1681, et seq. (FCRA)
  19   because this case involves the FCRA. An action to enforce any liability created
  20   under the FCRA may be brought in any appropriate United States District Court
  21   not later than the earlier of either two years after the date of discovery by the
  22   plaintiff of the violation or five years after the date on which the violation that is
  23   the basis for the action. 15 U.S.C. § 1681p.
  24   ///
  25   ///
  26   ///
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   1                                       PARTIES
   2         3.     Plaintiff is an individual who is a resident of the State of California,
   3   County of Los Angeles.
   4         4.     Plaintiff is informed and believes that Defendant APRIA
   5   HEALTHCARE LLC (“AH-LLC”) is a Delaware limited liability company with
   6   its headquarters in Lake Forest, California.
   7         5.     Plaintiff is informed and believes that APRIA HEALTHCARE
   8   GROUP, INC. (“AH-INC.”) is a Delaware Corporation with its headquarters in
   9   Lake Forest, California.
  10         6.     Defendants provide home respiratory services and certain medical
  11   equipment, including oxygen therapy, inhalation therapies, sleep apnea treatment,
  12   and negative pressure wound therapy nationwide and within the jurisdiction of
  13   this Court for service of process purposes. The unlawful acts alleged herein have a
  14   direct effect on Plaintiff and those similarly situated, in California and throughout
  15   the United States.
  16         7.     Plaintiff is unaware of the true names, capacities, relationships, and
  17   extent of participation in the conduct alleged herein, of the Defendants sued as
  18   DOES 1–10, inclusive, but is informed and believes and thereon alleges that said
  19   Defendants are legally responsible for the wrongful conduct alleged herein and
  20   therefore sues these Defendants by such fictitious names. Plaintiff will amend this
  21   complaint when their true names and capabilities are ascertained.
  22         8.     Plaintiff is informed and believes and thereon alleges that each
  23   Defendant, directly or indirectly, or through agents or other persons, violated the
  24   rights of Plaintiff and members of the proposed Class, and exercised control over
  25   the job application process, including those aspects pertaining to background
  26   checks and associated forms and authorizations. Plaintiff is informed and believes
  27   and thereon alleges that each Defendant acted in all respects pertinent to this
  28   action as the agent of the other Defendants, carried out a joint scheme, business

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   1   plan or policy in all respects pertinent hereto, and the acts of each Defendant is
   2   legally attributable to the other Defendants.
   3                              GENERAL ALLEGATIONS
   4         9.     Plaintiff applied for employment with Defendants in June 2013. At
   5   that time, he was not provided with a proper written disclosure stating that a
   6   consumer report, background check, department of motor vehicle report or other
   7   such consumer report may be obtained for employment purposes.
   8         10.    In addition to improper disclosures, Defendants’ applications
   9   contained improper liability release allowing Defendants to obtain a consumer
  10   reports.
  11         11.    Thereafter, Defendants obtained copies of Plaintiff’s consumer
  12   report.
  13         12.    Plaintiff is informed and believes and on that basis alleges that
  14   Defendants obtained consumer reports for their employees and applicants for
  15   employment purposes without a valid or proper disclosure as part of the
  16   application process.
  17         13.    Each of the Defendants, including the DOE defendants is a “person”
  18   as defined by the FCRA. 15 U.S.C. §1681 a(b). Plaintiff and each of the class
  19   members is a “consumer” as defined by the FCRA. 15 U.S.C. §1681 a(c). The
  20   background reports, DMV reports or consumer report that Defendants obtains
  21   regarding applicants or current employees are “consumer reports” as defined by
  22   the FCRA. 15 U.S.C. §1681 a(d).
  23         14.    During the Class Period, Plaintiff and each member of the Class
  24   sought employment with Defendants in the United States. As part of the
  25   employment application process, Defendants obtained a consumer report for
  26   Plaintiff. Plaintiff is also informed and believes and thereon alleges that, as part of
  27   the employment application process, Defendants sought and/or obtained a
  28   consumer report for the members of the proposed Class. Plaintiff is informed and

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   1   believes and on that basis alleges that Defendants obtained from the Department
   2   of Motor Vehicles or other third party consumer reporting agencies driving
   3   records, background reports, and other consumer information that included results
   4   of a criminal records search, arrest, substance abuse and/or a sex offender registry
   5   searches for him and the members of the proposed Class.
   6         15.    Plaintiff and each member of the proposed Class are individuals
   7   covered by the FCRA and as such, Defendants and each of them was required to
   8   provide a disclosure in writing that a consumer report may be obtained for
   9   employment purposes and obtain a valid, written authorization prior to obtaining a
  10   consumer report. 15 U.S.C. §1681b(b)(2)(A)(i) and (ii).
  11         16.    The term “consumer report” includes not only credit worthiness,
  12   standing, and capacity; it also includes character, general reputation, personal
  13   characteristics, or mode of living to be to analyze eligibility for employment
  14   purposes. 15 U.S.C. §1681a(d). Accordingly, a background check qualifies as a
  15   consumer report.
  16         17.    The report must be obtained from a “consumer reporting agency,”
  17   which is defined as any person which, for monetary fees, dues, or on a cooperative
  18   nonprofit basis, regularly engages in whole or in part in the practice of assembling
  19   or evaluating consumer credit information or other information on consumers for
  20   the purpose of furnishing consumer reports to third parties, and which uses any
  21   means or facility of interstate commerce for the purpose of preparing or furnishing
  22   consumer reports.” 15 U.S.C. §1681a(f). Defendants obtained the report from
  23   third party consumer reporting agencies such as ADP, or the DMV or other such
  24   similar organizations.
  25   ///
  26   ///
  27   ///
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                                            CLASS ACTION COMPLAINT
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   1         18.   Under the FCRA, it is unlawful to procure a consumer report or
   2   cause a consumer report to be procured for employment purposes, unless:
   3                 (i)    a clear and conspicuous disclosure has been made in writing
   4                        to the consumer at any time before the report is procured or
   5                        caused to be procured, in a document that consists solely of
   6                        the disclosure, that a consumer report may be obtained for
   7                        employment purposes; and
   8                 (ii)   the consumer has authorized in writing (which authorization
   9                        may be made on the document referred to in clause(i)) the
  10                        procurement of the report.
  11   15 U.S.C. §§ 1681b(b)(2)(A)(i)-(ii) (emphasis added).
  12         19.   The following disclosure or authorization is included on the
  13   applications of Defendants, along with a variety of other information, “I hereby
  14   release the Company and all affiliated persons and entities, as well as any person
  15   or institution that provides the Company with any lawful information about me,
  16   from and all liability whatsoever resulting from any such lawful inquiry,
  17   investigation or communication.” This does not comply with the FCRA
  18   requirements in that: (1) it does not disclose that a consumer report will be
  19   obtained; (2) it does not seek written authorization from prospective applicants to
  20   obtain the consumer report; (3) it is included on the same page as the application
  21   along with numerous other statements, not in a document that consists only of the
  22   disclosure and authorization as required by the FCRA; and (4) the statement
  23   purports to release Defendants and each of them from liability, while the
  24   document continues to state “I understand that any hiring decision is contingent
  25   upon my successful completion of all of the Company’s lawful pre-employment
  26   checks, including, but not limited to, a physical exam, a drug test, and background
  27   checks with state motor vehicle agencies and the Department of Transportation.”
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   1         20.    In violation of 15 U.S.C. § 1681b(b)(2)(A)(i), Defendants
   2   unlawfully inserted liability release provisions into forms purporting to grant
   3   Defendants and their affiliated the authority to obtain and use consumer report
   4   information for employment purposes. The FCRA prohibits this practice and
   5   requires that forms granting the authority to access and use consumer report
   6   information for employment purposes be stand-alone forms, and not include any
   7   additional information or agreements. Defendants’ decision to include liability
   8   release provisions in its authorization forms is contrary to the plain language of the
   9   statute and unambiguous regulatory guidance from the Federal Trade Commission
  10   (“FTC”).
  11         21.    In violation of 15 U.S.C. § 1681b(b)(2)(A)(ii) Defendants
  12   obtained consumer reports without proper authorization because the authorization
  13   and disclosure form signed by Plaintiff failed to comply with the requirements of
  14   the FCRA. The inclusion of the liability waiver in Defendants’ authorization
  15   forms invalidates the purported consent and also triggers statutory damages under
  16   the FCRA in the amount of up to $1,000 for each applicant that Defendants
  17   obtained a consumer report without a facially valid authorization, as well as
  18   punitive damages, equitable relief, and attorneys’ fees and costs.
  19                          CLASS ACTION ALLEGATIONS
  20         22.    As set forth above, Plaintiff brings this action on behalf of himself
  21   and all others similarly situated as a class action pursuant to Federal Rule of Civil
  22   Procedure 23. The members of the Class are defined as follows: all employees or
  23   prospective employees of Defendants who applied for employment with
  24   Defendants in the United States, who completed Defendants’: job applications,
  25   background check disclosures and authorization forms that included a liability
  26   release allowing Defendants to obtain a consumer report, a background check or
  27   DMV search and/or did not have a proper authorization and disclosure and consent
  28   language (the “Class”) at any time during the period beginning five (5) years prior to

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   1   the filing of this Complaint and ending on the date as determined by the Court (the
   2   “Class Period”).
   3         23.    Plaintiff reserves the right under the other applicable Federal Rules of
   4   Civil Procedure to amend or modify the class definition(s) with respect to issues
   5   or in any other ways. Plaintiff is the Named Representative and is a member of
   6   the proposed Class. Plaintiff seeks class-wide recovery based on the allegations
   7   set forth in this complaint.
   8         24.    This action has been brought and may be maintained as a class action
   9   pursuant to Federal Rules of Civil Procedure because there is a well-defined
  10   community of interest in the litigation and the proposed Class is easily
  11   ascertainable through the records Defendants are required to keep. This action has
  12   been brought and may be maintained as a class action pursuant to Federal Rule of
  13   Civil Procedure 23 because there is a well-defined community of interest in the
  14   litigation and the proposed Class is easily ascertainable through the records
  15   Defendants are required to keep.
  16                 a.     Numerosity. Plaintiff is informed and believes and thereon
  17   alleges that the members of the Class are so numerous that individual joinder of
  18   all of them as Plaintiff is impracticable. While the exact number of the Class
  19   members is unknown to Plaintiff at this time, Plaintiff is informed and believes
  20   and thereon alleges that there are thousands of Class members.
  21                 b.     Commonality. Common questions of law and fact exist as to
  22   all Class members and predominate over any questions that affect only individual
  23   members of the Class. These common questions include, but are not limited to:
  24                       i.         Whether Defendants and each of them required Class
  25   members to sign a background check disclosure and authorization form;
  26                      ii.     Whether Defendants’ background check disclosure and
  27   authorization forms comply with the FCRA;
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   1                   iii.         Whether Defendants and each of them violated the
   2   rights of Class members under the FCRA by including a liability release in its
   3   background check disclosure and authorization form;
   4                   iv.          Whether Defendants and each of them violated the
   5   FCRA by procuring consumer report information regarding Class members based
   6   on invalid authorizations;
   7                    v.          To the extent that the Court may find that the pre-printed
   8   language included on the applications, set forth above, complies with the
   9   disclosure and/or written authorization requirements of FCRA, whether
  10   Defendants and each of them violated the rights of Class members under the
  11   FCRA by including this language on the same page as the application along with
  12   numerous other statements and not in a document that consists only of the
  13   disclosure and authorization as required by the FCRA;
  14                   vi.          To the extent that the Court may find that the pre-printed
  15   language included on the applications, set forth above, complies with the
  16   disclosure and/or written authorization requirements of FCRA, whether
  17   Defendants and each of them violated the rights of Class members FCRA by
  18   including language releasing Defendants and each of them from liability;
  19                   vii.         Whether Defendants and each of them willfully violated
  20   the FCRA, requiring statutory damages to Plaintiff and Class members pursuant to
  21   15 U.S.C. §1681n(a);
  22                  viii.         Whether Plaintiff and Class members are entitled to
  23   statutory damages pursuant to 15 U.S.C. §1681n(a), and if so, the amount and
  24   calculation of statutory damages;
  25                   ix.          Whether Plaintiff and Class members are entitled to
  26   punitive damages pursuant to 15 U.S.C. §1681n(a)(2), and if so, the amount and
  27   calculation of punitive damages;
  28   ///

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    1                 c.   Typicality. Plaintiff’s claims are typical of the claims of the
    2   other Class members. Plaintiff is informed and believes and thereon alleges that
    3   he and the other Class members have subject to the same policy and practice of
    4   failing to provide a proper disclosure to obtain a consumer report for employment
    5   purposes, and of failing to obtain a valid authorization prior to obtaining a
    6   consumer report. Plaintiff is also informed and believes and thereon alleges that
    7   he and other Class members have subject to the same policy and practice of
    8   including the improper release language in the employment application.
    9                 d.   Adequacy. Plaintiff will adequately and fairly protect the
   10   interests of the members of the Class. Plaintiff has no interest adverse to the
   11   interests of absent Class members. Plaintiff is represented by attorneys who have
   12   adequate class action experience in class action law.
   13                 e.   Superiority. A class action is superior to other available means
   14   for fair and efficient adjudication of the claims of the Class and would be
   15   beneficial for the parties and the Court. Class action treatment will allow a large
   16   number of similarly situated persons to prosecute their common claims in a single
   17   forum, simultaneously, efficiently, and without the unnecessary duplication of
   18   effort and expense that numerous individual actions would require. The damages
   19   suffered by each Class member are relatively small in the context of a class action
   20   analysis, and the expense and burden of individual litigation would make it
   21   extremely difficult or impossible for the individual Class members to seek and
   22   obtain individual relief. A class action will serve an important public interest by
   23   permitting such individuals to effectively pursue recovery of the sums owed to
   24   them.    Further, class litigation prevents the potential for inconsistent or
   25   contradictory judgments raised by individual litigation.
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    1                             FIRST CAUSE OF ACTION
    2          For Failure to Make Proper Disclosure in Violation of the FCRA
    3                         [15 U.S.C. § 1681b(b)(2)(A)(i), et seq.]
    4               (By Plaintiff and the Class and Against All Defendants)
    5         25.     Plaintiff incorporates each of the preceding paragraphs of this
    6   Complaint by reference as if fully set forth herein.
    7         26.     Defendants     and    each    of   them    violated   15   U.S.C.    §
    8   1681b(b)(2)(A)(i) of the FCRA by including a liability release in their application
    9   and employment forms that Plaintiff and other Class members were required to
   10   execute as a condition of employment or application for employment with Defendants.
   11         27.     The violations of the FCRA were willful. Defendants knew or
   12   should have known that their forms should not include extraneous information
   13   that is prohibited by the FCRA, and acted in deliberate disregard of its obligations
   14   and the rights of Plaintiff and other Class Members under 15 U.S.C. §
   15   1681b(b)(2)(A)(i).
   16         28.     Plaintiff and Class members are entitled to statutory damages of not
   17   less than $100 and not more than $1,000 for every violation of the FCRA, pursuant
   18   to 15 U.S.C. § 1681n(a)(1)(A).
   19         29.     Plaintiff and Class members are also entitled to punitive damages for
   20   these violations, pursuant to 15 U.S.C. § 1681n(a)(2).
   21         30.     Plaintiff and Class Members are further entitled to recover their costs
   22   and attorneys’ fees, pursuant to 15 U.S.C. § 1681n(a)(3).
   23   ///
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    1                            SECOND CAUSE OF ACTION
    2         For Failure to Obtain Proper Authorization in Violations of the FCRA
    3                             [15 U.S.C. § 1681b(b)(2)(A)(ii)]
    4                 (By Plaintiff and the Class and Against All Defendants)
    5           31.     Plaintiff incorporates each of the preceding paragraphs of this
    6   Complaint by reference as if fully set forth herein.
    7           32.   Defendants and each of them violated the FCRA by procuring
    8   consumer reports relating to Plaintiff and other Class Members without proper
    9   authorization. See 15 U.S.C. § 1681b(b)(2)(A)(ii).
   10           33.   The violations of the FCRA were willful. Defendants and each of
   11   them acted in deliberate disregard of its obligations and the rights of Plaintiff and
   12   other Class Members under 15 U.S.C. § 1681b(b)(2)(A)(ii).
   13           34.   Plaintiff and the Class Members are entitled to statutory damages of
   14   not less than $100 and not more than $1,000 for every violation of the FCRA,
   15   pursuant to 15 U.S.C. § 1681n(a)(1)(A).
   16           35.   Plaintiff and Class Members are also entitled to punitive damages for
   17   these violations, pursuant to 15 U.S.C. § 1681n(a)(2).
   18           36.   Plaintiff and Class Members are further entitled to recover their costs
   19   and attorneys’ fees, pursuant to 15 U.S.C. § 1681n(a)(3).
   20   ///
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                                              CLASS ACTION COMPLAINT
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    1                                PRAYER FOR RELIEF
    2                 WHEREFORE, the Plaintiff prays for judgment against each
    3   Defendant, jointly and severally, as follows, on behalf of himself and the Class:
    4                 a.   That the Court certify the First and Second Cause of Action
    5   asserted by the Class as a Class Action pursuant to Fed. R. Civ. Proc. 23(b)(2)
    6   and/or (3);
    7                 b.   A determination and judgment that each of the Defendants
    8   willfully violated the 15 U.S.C. § 1681(b)(2)(A)(i) and(ii) of the FCRA by failing
    9   improperly including liability release language in its background check disclosure
   10   and authorization form and by obtaining consumer reports on Plaintiff and Class
   11   Members without having proper authorization to do so;
   12                 c.   Pursuant to 15 U.S.C. § 1681n(a)(1)(A), an award of statutory
   13   damages to Plaintiff and the members of the Class in an amount equal to $1,000
   14   for Plaintiff and each Class member for Defendants’ willful violation of the
   15   FCRA;
   16                 d.   Pursuant to 15 U.S.C. § 1681n(a)(2), an award of punitive
   17   damages to Plaintiff and other Class Members;
   18                 e.   An award for costs of suit and reasonable attorneys’ fees
   19   pursuant to 15 U.S.C. § 1681n(a)(3); and,
   20                 f.   Such other and further relief as the Court deems just and
   21   equitable.
   22                                   Respectfully submitted,
   23
        DATED: October 20, 2014         LAW OFFICE OF DAVID POURATI,
                                        A PROFESSIONAL CORPORATION
   24                                   LAW OFFICES OF LOUIS BENOWITZ
   25

   26
                                    By: /S/ David Pourati
   27                                   David Pourati
                                        Louis Benowitz
   28
                                        Attorneys for Plaintiff
                                        ERIC ESCOBAR
                                                 13
                                             CLASS ACTION COMPLAINT
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    1                           DEMAND FOR JURY TRIAL
    2
             Plaintiff hereby demands jury trial for all issues so triable.
    3
                                        Respectfully submitted,
    4
        DATED: October 20, 2014         LAW OFFICE OF DAVID POURATI,
    5                                   A PROFESSIONAL CORPORATION
                                        LAW OFFICES OF LOUIS BENOWITZ
    6

    7

    8
                                    By: /S/ David Pourati
                                        David Pourati
    9                                   Louis Benowitz
   10
                                        Attorneys for Plaintiff
                                        ERIC ESCOBAR, an individual
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